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     Exhibit 386
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·7·   12/24/2020 OAN Breaking News Live With Patrick Hussion:
    President Trump:· Election Fraud Is A Proven Fact
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14· https://app.criticalmention.com/app/#clip/view/edd926
· · 32-4c80-4830-9322-cc20537255e2?token=945b87c9-0c2d-45
15· 95-99ec-c9c83da5b728

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·1· · · · · · (00:02)
·2· · · · · · PATRICK HUSSION:· -- to silence the reports of
·3· election fraud.· In a tweet the President said, quote,
·4· voter fraud is not a conspiracy theory as Democrat media
·5· tries to portray it, he says.· Now the President adds
·6· numerous reports of fraud, ballot dumps and electronic
·7· tampering makes voter fraud a proven fact.
·8· · · · · · Social media and mainstream media recently
·9· came under fire for suppressing records of fraud,
10· including the sworn affidavits and videos presented
11· in courts.· President Trump reiterated· that he will
12· defeat voter fraud to insure integrity in future
13· elections.
14· · · · · · The President is reminding his Twitter
15· followers to stay vigilant as the Whitehouse
16· continues to investigate claims of voter fraud.· The
17· president shared a video urging his supporters to
18· contact they legislators to demand that they do more
19· to investigate election fraud.· Take a look
20· · · · · · TRUMP AD VOICEOVER:· President Trump created
21· millions of jobs, saved the economy from a worldwide
22· pandemic, and led the effort to discover a vaccine at
23· warp speed.· America rewarded President Trump with over
24· 74 million votes, millions more than Obama and both
25· Clintons, more votes than any president, more votes from


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·1· African Americans, Latinos and Jewish Americans than any
·2· Republican in decades.· President Trump won Ohio,
·3· Florida and 95 percent of bell weather counties,
·4· suggesting a landslide Trump victory, but something
·5· happened.· Some states rushed out mail-in ballots, a
·6· recipe for fraud.· Dead people voted, ballots
·7· miraculously appeared, Biden ballots added in the middle
·8· of the night.· Joe Biden bragged about having the
·9· most --
10· · · · · · JOE BIDEN:· -- extensive and inclusive voter
11· fraud organization in the history of --
12· · · · · · TRUMP AD VOICEOVER:· It's an outrage.· The
13· American people deserve to know the truth.· Demand an
14· honest election and an honest count.· Contact your
15· legislators today.
16· · · · · · PATRICK HUSSION:· Rudy Giuliani says recent
17· forensic audits found Dominion voting machines were
18· programmed to give Joe Biden an automatic advantage over
19· any number of Trump votes.
20· · · · · · RUDY GIULIANI:· We believe from what we saw in
21· Michigan that the machines have an inaccurate vote, that
22· they're programmed to give Biden somewhere between a two
23· and five advantage.
24· · · · · · PATRICK HUSSION:· The President's attorney
25· points out Democrat officials in key states are


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·1· continuing to resist subpoenas by state lawmakers to
·2· allow a broader examination of voting machines.
·3· Giuliani says Democrats are obviously hiding the
·4· evidence of voter fraud.
·5· · · · · · JOE BIDEN:· If he's so confident that we're so
·6· wrong, I don't understand why he won't let us examine
·7· the machines.· We won't do any damage to them.· He can
·8· watch us.· It's a bunch of military people who are doing
·9· it, honest, honorable people.· They know these machines
10· better than anybody, than probably the people who made
11· them, so we're going to pursue that.· We're also doing
12· the same thing in Arizona.
13· · · · · · PATRICK HUSSION:· Giuliani also says
14· illegitimate votes will be challenged on Capitol Hill on
15· January 6th amid ongoing litigation in some key swing
16· states.
17· · · · · · Trump supporters file a petition with the
18· National Park Service to hold a rally in Washington
19· DC.· That application is the third in less than two
20· months.· It aims to take place on January 6th, the
21· day, of course, that Congress will be counting the
22· electoral college votes and certifying a winner.
23· Now, President Trump took to Twitter urging
24· supporters to attend that rally and protest the
25· election results in various states.· The park service


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·1· has not yet granted the request.· However, permits
·2· typically aren't issued until the week of· --
·3· · · · · · (End of excerpt at 3:35.)
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·3· · · · · · · · · ·CERTIFICATE OF REPORTER

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·5· · · · · · I, Charlotte Crandall, certify that I was

·6· authorized to and did transcribe the foregoing audio

·7· recorded proceedings and that the transcript is a

·8· true and complete record of my stenographic notes

·9· from an audio recording and was transcribed to the

10· best of my ability.

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12· · · · · · Dated this 16th day of June, 2021.

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18· · · · · · · · · · · ________________________________
· · · · · · · · · · · · Charlotte Crandall
19· · · · · · · · · · · Registered Professional Reporter

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